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UNITED STATES DISTRICT COUR”IZM8 JUL 18 P`J 35 21

MIDDLE DISTRICT oF FLoRIDAc;;,= _ 67 CC
TAMPA DlvlsIoN "v 7. _~; 05 %007 7;'§,7'

UNITED sTATEs oF AMERICA
CASE NO g._ \Q, c v- z>=(/\'z.:~."t`@w

46 U.s.C. § 70503(0)
DoUGLAs HovANI oJEDA vILLANUEVA, 46 U.s.c:. §§ 70506(0> & (b)
JARVIN ALoNso zUNIGA ULLoA,
EINER RENE BENAVIDES RosERo, and
ELIBER PAREDES RoDRIGUEz

V.

MIC_LIVE__N_T

The Grand Jury charges:
M
(MLEA Conspiracy to Possess with Intent to Distribute
Five Kilograms or More of Cocaine)
Beginning on an unknown date and continuing until on or about July ll,
2018, while on board a vessel subject to the jurisdiction of the United States, in

the Middle District of Florida, and elsewhere, the defendants,

DOUGLAS HOVANI OJEDA VILLANUEVA,
JARVIN ALONSO ZUNIGA ULLOA,
EINER RENE BENAVIDES ROSERO, and
ELIBER PAREDES RODRIGUEZ,

did knowingly, willfully, and intentionally conspire with each other and other

persons, both known and unknown to the Grand Jury, to possess with intent to

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distribute five (5) kilograms or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

All in violation of 46 U.S.C. §§ 70503(a), 70506(a) and (b), and 21 U.S.C.
§ 960(b)(1)(B)(ii)-

COUNT TWO
(MDLEA Possession with Intent to Distribute
Five Kilograms or More of Cocaine)

From an unknown date, continuing through on or about May ll, 2018,

while upon the high seas aboard a vessel subject to the jurisdiction of the United

States, the defendants,

DOUGLAS HOVANI OJEDA VILLANUEVA,
JARVIN ALONSO ZUNIGA ULLOA,
EINER RENE BENAVIDES ROSERO, and
ELIBER PAREDES RODRIGUEZ,

did knowingly and intentionally, while aiding and abetting each other and other
persons, both known and unknown to the Grand Jury, possess with intent to
distribute five (5) kilograms or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule II controlled substance

All in violation of 46 U.S.C. §§ 70503(a) and 70506(a), 18 U.S.C. § 2, and
21 U.S.C. § 960(b)(1)(B)(ii).

FORFEITURE
1. The allegations contained in Counts One and Two of this

Indictment are hereby realleged and incorporated by reference for the purpose of

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alleging forfeitures pursuant to the provisions of 21 U.S.C. §§ 853 and 881, 46
U.S.C. § 70507, and 28 U.S.C. § 2461(c).

2. Upon their conviction of any of the violations alleged in Counts One
and Two of this Indictment, in violation of 46 U.S.C. § 70503, the defendants,

DOUGLAS HOVANI OJEDA VILLANUEVA,
JARVIN ALONSO ZUNIGA ULLOA,
EINER RENE BENAVIDES ROSERO, and
ELIBER PAREDES RODRIGUEZ,

shall forfeit to the United States, pursuant to 46 U.S.C. § 70507, 21 U.S.C.
§ 881(a), and 28 U.S.C. § 2461(c), any and all property described in 21 U.S.C.
§ 881(a)(1) through (11) that was used or intended for use to commit, or facilitate
the commission of, such offenses.

3. Upon conviction of any of the violations alleged in Counts One and
Two of this Indictment, in violation 21 U.S.C. § 960, the defendants,

DOUGLAS HOVANI OJEDA VILLANUEVA,
JARVIN ALONSO ZUNIGA ULLOA,
EINER RENE BENAVIDES ROSERO, and
ELIBER PAREDES RODRIGUEZ,

shall forfeit to the United States, pursuant to 21 U.S.C. § 853, any property
constituting, or derived from, any proceeds obtained, directly or indirectly, as a
result of such offense and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of, the offense.

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4.

If any of the property described above, as a result of any act or

omission of the defendants:

8,.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or,

has been commingled with other property, which cannot be

divided without difficulty;

the United States of America shall be entitled to forfeiture of substitute

property under the provision of 21 U.S.C. § 853(p), directly and as

incorporated by 28 U.S.C. § 2461(c).

 

A TRUE BILL,
Forepersor{
MARIA CHAPA LOPEZ
United States Attorney

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Thomas N. Palermo
Assistant United States Attorney

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Assistant United States Attorney
Chief, Transnational Organized Crirne Section

FORM OBD-34
July 18

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uNITED sTA_TEs DISTRICT coun'r
Middle District of Florida
Tampa Division

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THE UNITED STATES OF AMERICA
vs.

DOUGLAS HOVANI OJEDA VILLANUEVA,
JARVIN ALONSO ZUNIGA ULLOA,
EINER RENE BENAVIDES ROSERO, and
ELIBER PAREDES RODRIGUEZ

F\IDICTMENT

Violations: 46 U.S.C. § 70503(a)
46 U.S.C. §§ 70506(a) and (b)

A true bill, M // /Qvé<

Fore;i erson

 

Fil€d in open court this 186 day ofJuiy 2018,

 

Clerk

Bail $

 

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